Case 6:21-cv-01022-WWB-LRH Document 1 Filed 06/15/21 Page 1 of 7 PageID 1




               IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF FLORIDA
                        ORLANDO DIVISION


BGX E-HEALTH LLC, a Delaware
Limited Liability Company,

      Plaintiff,
                                          CASE NO:
      vs.
                                          JURY TRIAL DEMANDED
DARREN NEIL MASTERS, individually;
JOHN LUMLEY, individually; PAULO
JORGE MEIRIM RODRIGUES
BRANCO, individually; GRANITE
INVESTMENT GLOBAL US, LLC; SN-
SCP, LLC; CW FINANCIAL
CONSULTING, LLC; BLUE TRIANGLE
CAPITAL, LLC; PBI COMMODITY
TRADERS LTD; and PBI COMMODITY
BROKERS K2018447557


      Defendants.
_________________________/


   PLAINTIFF’S COMPLAINT AND DEMAND FOR A JURY TRIAL

     Plaintiff, BGX E-HEALTH LLC, a Delaware Limited Liability Company

(“BGX”) hereby files this Complaint against Defendants, DARREN NEIL

MASTERS, individually (“Masters”); JOHN LUMLEY, individually (“Lumley”);

PAULO JORGE MEIRIM RODRIGUES BRANCO, individually (“Branco”);

GRANITE INVESTMENT GLOBAL US, LLC (“GIG”); SN-SCP, LLC (“SN”); CW

FINANCIAL CONSULTING, LLC (“CW”); BLUE TRIANGLE CAPITAL, LLC

(“BTC”); PBI COMMODITY TRADERS LTD (“PBI Traders”); and PBI


                                    1
 Case 6:21-cv-01022-WWB-LRH Document 1 Filed 06/15/21 Page 2 of 7 PageID 2




COMMODITY BROKERS K2018447557 (“PBI Brokers”), for unjust enrichment

and money had and received, and in support thereof states as follows:

                                     PARTIES

      1.     BGX is a limited liability company organized under the laws of the

State of Delaware and authorized to do business in the State of Florida. BGX’s sole

member is Relevium Technologies Inc., a Canadian corporation with its principal

place of business in Canada.

      2.     Masters is an individual who resides in Naples, Collier County,

Florida. Masters is a citizen of Florida.

      3.     Lumley is an individual. Upon information and belief, Lumley is a

citizen of Connecticut.

      4.     Branco is an individual. Upon information and belief, Branco is a

citizen of either South Africa or the United Kingdom.

      5.     GIG is a limited liability company organized under the laws of the

State of Florida with its principal place of business located at 13180 Livingston

Road, Suite 201, Naples, Florida 34109. Upon information and belief, Masters is

the sole member of GIG.

      6.     SN is a limited liability company organized under the laws of the State

of Florida with its principal place of business located at 13180 Livingston Road,

Suite 201, Naples, Florida 34109. Upon information and belief, Masters is the sole

member of SN.



                                            2
 Case 6:21-cv-01022-WWB-LRH Document 1 Filed 06/15/21 Page 3 of 7 PageID 3




      7.     CW is a limited liability company organized under the laws of the State

of Florida with its principal place of business located at 9180 Galleria Ct, Suite 800,

Naples, Florida 34109. Upon information and belief, Masters is the sole member

of CW.

      8.     BTC is a limited liability company organized under the laws of the

State of Florida with its principal place of business located at 13180 Livingston

Road, Suite 201, Naples, Florida 34109. Upon information and belief, Masters,

Lumley, and Jeffrey M. Greenman are the only members of BTC, and Jeffrey M.

Greenman is a citizen of New York.

      9.     Upon information and belief, PBI Traders is a company organized

under the laws of the United Kingdom with offices located in Leeds, West

Yorkshire.

      10.    Upon information and belief, PBI Brokers is a company organized

under the laws of South Africa with offices located in Craighall Park, Randburg.

                         JURISDICTION AND VENUE

      11.    Venue is proper in this judicial district pursuant to 28 U.S.C. §

1391(b)(2) because a substantial part of the events or omissions giving rise to the

claims set forth in this Complaint occurred in this judicial district.

      12.    This Court has subject matter jurisdiction pursuant to 28 U.S.C. §

1332. There is complete diversity among the opposing parties and the amount-in-

controversy exceeds $75,000.



                                          3
 Case 6:21-cv-01022-WWB-LRH Document 1 Filed 06/15/21 Page 4 of 7 PageID 4




                           FACTUAL ALLEGATIONS

      13.     BGX entered into an agreement with certain hospital systems to

supply medical goods.

      14.     Branco, PBI Traders, and PBI Brokers (collectively, the “PBI

Defendants”) worked with BGX to organize and broker a deal between BGX and

Masters, Lumley, GIG, SN, CW, and BTC (collectively, the “SN Defendants”), for

the purchase of medical goods.

      15.     As part of that deal, in November 2020, BGX deposited $11,564,520

into SN’s bank account as payment for the purchase of the medical goods (the

“Payment”).

      16.     Shortly thereafter, SN, without authorization, distributed to the PBI

Defendants and the SN Defendants funds from the Payment.

      17.     The PBI Defendants and the SN Defendants failed to provide the

purchased medical goods to BGX.

      18.     BGX has demanded that the PBI Defendants and the SN Defendants

return the Payment.

      19.     As of the date of this Complaint, the PBI Defendants and the SN

Defendants have failed to return the Payment or to take acts sufficient to return

the Payment.

      20.     On information and belief, the PBI Defendants and the SN Defendants

have taken and utilized at least some of the Payment for additional unauthorized




                                         4
 Case 6:21-cv-01022-WWB-LRH Document 1 Filed 06/15/21 Page 5 of 7 PageID 5




purposes, and sent these funds outside the United States to additional accounts

unknown.

      21.     BGX has been damaged by the PBI Defendants and the SN Defendants

actions.

      22.     BGX has retained the undersigned law firm to represent it in this

action and is obligated to pay the firm its reasonable expenses and costs, including

attorney and paralegal fees, incurred in this action.

                                 COUNT I
                          UNJUST ENRICHMENT
            (against the PBI Defendants and the SN Defendants)

      23.     BGX realleges and incorporates the allegations contained in

paragraphs 1 through 22 above as if fully set forth herein.

      24.     BGX conferred a benefit upon the PBI Defendants and the SN

Defendants.

      25.     The PBI Defendants and the SN Defendants had knowledge of the

benefit.

      26.     The PBI Defendants and the SN Defendants voluntarily accepted and

retained the benefit.

      27.     The PBI Defendants and the SN Defendants failed to provide the

purchased medical goods to BGX.

      28.     It would be inequitable for the PBI Defendants and the SN Defendants

to retain the Payment.




                                         5
 Case 6:21-cv-01022-WWB-LRH Document 1 Filed 06/15/21 Page 6 of 7 PageID 6




      WHEREFORE, BGX respectfully asks the Court to enter a judgment against

the PBI Defendants and the SN Defendants in the amount of $11,564,520 plus

interest and costs, award BGX its attorneys’ fees, costs, and expenses, and grant

such other and further relief as this Court deems proper.

                                 COUNT II
                       MONEY HAD AND RECEIVED
            (against the PBI Defendants and the SN Defendants)

      29.    BGX realleges and incorporates the allegations contained in

paragraphs 1 through 22 above as if fully set forth herein.

      30.    The purpose of BGX’s Payment to the PBI Defendants and the SN

Defendants was to purchase medical goods.

      31.    The PBI Defendants and the SN Defendants had knowledge of the

Payment and its purpose.

      32.    The PBI Defendants and the SN Defendants coercively and in bad

faith accepted and retained the Payment without providing the medical goods.

      33.    The PBI Defendants and the SN Defendants refusal to return the

Payment is unreasonable and unconscionable.

      34.    The PBI Defendants and the SN Defendants have unjustly deprived

BGX of its ownership of the Payment

      35.    In equity and good conscience, the PBI Defendants and the SN

Defendants must return the Payment to BGX.

      WHEREFORE, BGX respectfully asks the Court to enter a judgment against

the PBI Defendants and the SN Defendants in the amount of $11,564,520 plus

                                         6
 Case 6:21-cv-01022-WWB-LRH Document 1 Filed 06/15/21 Page 7 of 7 PageID 7




interest and costs, award BGX its attorneys’ fees, costs, and expenses, and grant

such other and further relief as this Court deems proper.


                         JURY TRIAL DEMANDED

      BGX hereby demands a jury trial on all issues so triable.

Dated: June 15, 2021



                                            Respectfully Submitted,




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                                        7
